N\ A\Ca‘§e 2: 03- -c\/- 02878- .]P|\/|- dl<v Document 44 Filed 05/04/05 Page 1 of 3 Page|D 59

IN THE UNI'I`EI} STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

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WESTERN DIVISION iiili;:é §1;1"! ~ 3551-§
AMERlCAN PIONEER TITLE
INSURANCE COMPANY,
Plaintiff,
v. No. 03-2878 Mlv
VERMA Y. PINKNEY,
BASIL S. BUCHANAN and
GARY L. JEWEL,
Defendants. M m§ ( M
HDBM UANTED` _
GARY L' JEWEL’ , 3013 PHIPPa zt@aa:tt.l
. . . u. s'. DISTBICT Jt_r_?s ,=:;:
Fl"lnrd-pal'ty Plalntlff, :él;Mé-LA \/jL >G%A
AMSOUTH BANK,
Third-party Defendant.

 

 

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THIRI) PARTY DEFENDANT AMSOUTH BANK’S MOTION FOR L§z;§ila; 22
T0 FILE FoURTH-PARTY COMPLAINT

COMES NOW, third-party defendant, AmSouth Bank (“AmSouth”) and pursuant to F ed R
Civ P 14 hereby moves the Court for leave to file a fourth-party complaint against Verma Y
Pmkney and Basil S Buchanan. In Support of its motion, AmSouth States that Verma Y Plnkney

and Basll S Buchanan are liable to AmSouth for all or part of third-party plaintiffs alleged claim

against AmSouth. Furthermore, the claims agains fou h-pa

'li‘s clc"umant entered nn th¢=. docket alia fl §
with Flula 58 anchor fQ;a} l`-' FlCP on

   

endants Pinkney and Buchanan

'*>'a 'Kf{§.§.a claim

C_J

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arise out of the same transaction and occurrences that give rise to the original complaint and the

third-party complaint

In further support of its motion, AmSouth relies upon its memorandum in support filed

simultaneously herewith A copy ofArnSouth’s proposed fourth-party complaint is attached hereto

as Exhibit “A.”

A proposed order granting AmSouth’s motion has been filed simultaneously with this motion

for the Court’s convenience

WHEREFORE, PREMISES CONSIDERED, AmSouth respectfully moves the Court for

leave to file a fourth-party complaint against Verma Y. Pinkney and Basil S. Buchanan.

Respectfully submitted,

GLANKLER BROWN, PLLC

arry . Montgome v (#9579)
Jer y G. Alpert ( 9277)
00 One Comrnerce Square
Memphis, TN 38103
(901) 525-1322

By:

Attorneys for AmSouth Bank

CERTIFICATE OF SERVICE

The undersigned hereby certifies that a true and correct copy of the foregoi g has been
served on the following via first class U. S. Mail, postage prepaid, on this the 2 day of

May, 2005:

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Notice of Distribution

This notice confirms a copy of the document docketed as number 44 in
case 2:03-CV-02878 Was distributed by faX, mail, or direct printing on
May 5, 2005 to the parties listed.

 

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Honorable .l on McCalla
US DISTRICT COURT

